Case 3:08-cv-01918-JAF Document 118 Filed 11/30/09 Page 1 of 2

United States Court of Appeals

AS, B33 HOS ios For the First Circuit

~ 7
Nos. 08-2139, 09-1742, 09-1743

SYLVIA DIFFENDERFER, on behalf of herself and as a representative of the class herein
defined; ROBERT MCCARROLL, on behalf of himself and as a representative of the class
herein defined,

06-19 1& GRE)
Plaintiffs, Appellees/Cross-Appellants, \9 IX SAF

Vv.

RAMON E. GOMEZ-COLON, President of the State Electoral Commission of Puerto Rico;
WALTER VELEZ-RODRIGUEZ, Secretary of the State Electoral Commission of the
Commonwealth of Puerto Rico,

Defendants, Appellants,
GERARDO CRUZ-MALDONADO, Electoral Commissioner of Popular Democratic Party;

JUAN DALMAU-RODRIGUEZ, Electoral Commissioner of the Puerto Rican Independence
Party; NELSON ROSARIO-RODRIGUEZ, Electoral Commissioner of the Puerto Ricans for

Puerto Rico Party, EDWIN MUNDO-RIOS, Electoral Commissioner of the New Progressive 3 oo
Party; JOHN DOE, wo 3
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Defendants. w
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JUDGMENT " —
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Entered: November 19, 2009

This cause came on to be submitted on the briefs and original record on appeal! from the
United States District Court for the District of Puerto Rico.

Upon consideration whereof, it is now here ordered, adjudged and decreed as follows: The
district court's judgment in Diffenderfer v. Gomez-Colon, 587 F. Supp. 2d 338 (D-P.R. 2008), is
vacated, and the matter is remanded to the district court with instructions to dismiss the action. The

district court's award of attorney's fees in the district court is affirmed, No costs are awarded on
these appeals.

Case 3:08-cv-01918-JAF Document 118 Filed 11/30/09 Page 2 of 2

Appellant Gomez-Colon's motion to substitute parties is hereby granted.

By the Court:
/s/ Margaret Carter, Chief Deputy Clerk

cc: Hon. José A. Fusté, Ms. Frances de Moran, Clerk, United States District Court for the District
of Puerto Rico, Mr. Nolla-Acosta, Mr. Gonzalez-Miranda, Mr. Rodriguez-Escudero, Mr. Martinez-
Luciano, Ms. Cataldi-Malpica, Mr. Aldarondo-Ortiz, Mr.Aliff-Ortiz, Ms. Torres-Delgado, Mr.
Castro-Ortiz, Ms, Edith-Torres, Mr. Walker-Merino, Mr. McCall, Mr. Pagan-Cordoliani, Mr.
Aldarondo-Lopez.
